     Case 8:17-cv-01210-JLS-KES     Document 1   Filed 07/16/17   Page 1 of 18 Page ID
                                           #:1


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 7

 8                              UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10

11    KATHY LIRA, individually and on behalf Case No. 8:17-cv-1210
      of all others similarly situated,
12                                             CLASS ACTION COMPLAINT FOR:
                    Plaintiff,
13                                             1. VIOLATIONS OF CALIFORNIA’S.
                    v.                            AUTOMATIC RENEWAL LAW
14
      WEB.COM GROUP, INC., a Delaware             (BUSINESS AND PROFESSIONS
15    corporation; and DOES 1 – 10, inclusive,    CODE §§ 17600·17604); AND
                                               2. VIOLATIONS OF CALIFORNIA’S
16                  Defendants.                   UNFAIR COMPETITION LAW
17
                                                  (BUSINESS AND PROFESSIONS
                                                  CODE §§ 17200-17204)
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                                      CLASS ACTION COMPLAINT
     Case 8:17-cv-01210-JLS-KES    Document 1       Filed 07/16/17   Page 2 of 18 Page ID
                                          #:2


1           Plaintiff Kathy Lira (“Plaintiff”), on behalf of herself and all others similarly
2     situated, complains and alleges as follows:
3                       INTRODUCTION & OVERVIEW OF CLAIMS
4           1.    Plaintiff brings this class action on behalf of herself and a class of others
5     similarly situated consisting of all persons in California who, within the applicable
6     statute of limitations period up to and including the date of judgment in this action,
7     purchased subscriptions for products (such as website support services) from Web.com,
8     Inc. (‘‘Defendant”). The class of others similarly situated to Plaintiff is referred to
9     herein as “Class Members.” The claims for damages, restitution, injunctive and/or
10    other equitable relief, and reasonable attorneys’ fees and costs arise under California
11    Business and Professions Code (hereinafter “Cal. Bus. & Prof. Code”) §§ 17602,
12    17603, 17604) and 17200, et seq., and California Code of Civil Procedure § 1021.5.
13    Plaintiff and Class Members are consumers for purposes of Cal. Bus. & Prof. Code §§
14    17600-17606.
15          2.    During the Class Period, Defendant made automatic renewal or continuous
16    service offers to consumers in California and (a) at the time of making the automatic
17    renewal or continuous service offers, failed to present the automatic renewal offer terms
18    or continuous service offer terms, in a clear and conspicuous manner and in visual
19    proximity to the request for consent to the offer before the subscription or purchasing
20    agreement was fulfilled in violation of Cal. Bus. & Prof. Code § 17602(a)(l ); (b)
21    charged Plaintiff’s and Class Members’ credit or debit cards, or third-party account
22    (hereinafter “Payment Method”) without first obtaining Plaintiff’s and Class Members’
23    affirmative consent to the agreement containing the automatic renewal offer terms or
24    continuous service offer terms in violation of Cal. Bus. & Prof. Code§ 17602(a)(2); and
25    (c) failed to provide an acknowledgment that includes the automatic renewal or
26    continuous service offer terms, cancellation policy, and information regarding how to
27    cancel in a manner that is capable of being retained by the consumer in violation of Cal.
28    Bus. & Prof. Code §§ 17602(a)(3) and 17602(b).            As a result, all goods, wares,

                                                -1-
                                      CLASS ACTION COMPLAINT
     Case 8:17-cv-01210-JLS-KES     Document 1     Filed 07/16/17   Page 3 of 18 Page ID
                                           #:3


1     merchandise, or products sent to Plaintiff and Class Members under the automatic
2     renewal of continuous service agreements are deemed to be an unconditional gift
3     pursuant to Cal. Bus. & Prof. Code § 17603.
4           3.     As a result of the above, Plaintiff, on behalf of herself and Class Members,
5     seeks damages, restitution, declaratory relief, injunctive relief and reasonable attorneys’
6     fees and costs pursuant to Cal. Bus. & Prof. Code, §§ 17603, 17203, and 17204, and
7     Code of Civil Procedure § 1021.5.
8                                 JURISDICTION AND VENUE
9           4.     This Court has diversity jurisdiction over this class action pursuant to 28
10    U.S.C. § 1332 as amended by the Class Action Fairness Act of 2005 because the
11    amount in controversy exceeds five million dollars ($5,000,000.00), exclusive of
12    interest and costs, and is a class action in which some members of the class are citizens
13    of different states than Defendant. See 28 U.S.C. § 1332(d)(2)(A).
14          5.     This Court also has personal jurisdiction over Defendant because
15    Defendant currently does business in this state.
16          6.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because
17    Defendant is subject to personal jurisdiction in this District and a substantial portion of
18    the conduct complained of herein occurred in this District.
19                                           PARTIES
20          7.     Plaintiff purchased a subscription plan from Defendant in California
21    during the Class Period. Plaintiff and Class Members are consumers as defined under
22    Cal. Bus. & Prof. Code § 17601(d).
23          8.     Plaintiff is informed and believes, and upon such information and belief
24    alleges, that Defendant Web.com Group, Inc. is a Delaware corporation with its
25    principal place of business located in West Jacksonville, Florida. Defendant operates in
26    California and has done business in California at all times during the Class Period.
27    Also during the Class Period, Defendant made, and continues to make, automatic
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                                                 -2-
                                       CLASS ACTION COMPLAINT
     Case 8:17-cv-01210-JLS-KES   Document 1     Filed 07/16/17   Page 4 of 18 Page ID
                                         #:4


1     renewal or continuous service offers to consumers in California. Defendant operates a
2     website which markets website support and construction services and related products.
3           9.    The true names and capacities of the Defendants sued herein as DOES 1
4     through 10, inclusive, are currently unknown to Plaintiff, who therefore sues such
5     Defendants by fictitious names. Each of the Defendants designated herein as a DOE is
6     legally responsible for the unlawful acts alleged herein. Plaintiff will seek leave of
7     Court to amend this Complaint to reflect the true names and capacities of the DOE
8     Defendants when such identities become known.
9           10.   At all relevant times, each and every Defendant was acting as an agent
10    and/or employee of each of the other Defendants and was acting within the course
11    and/or scope of said agency and/or employment with the full knowledge and consent of
12    each of the Defendants. Each of the acts and/or omissions complained of herein were
13    alleged and made known to, and ratified by, each of the other Defendants (Web.com
14    Group, Inc. and DOE Defendants will hereafter collectively be referred to as
15    “Defendant”).
16                                FACTUAL BACKGROUND
17    California Business Professions Code §§ 17600-17606
18          11.   On December 1, 2010, sections 17600-17606 of the Cal. Bus. & Prof.
19    Code came into effect. The Legislature’s stated intent for this Article was to end the
20    practice of ongoing charges to consumers’ Payment Methods without consumers’
21    explicit consent for ongoing shipments of a product or ongoing deliveries of service.
22    See Cal. Bus. & Prof. Code § 17600.
23          12.   Cal. Bus. & Prof. Code § 17602(a) makes it unlawful for any business
24    making an automatic renewal or continuous service offer to a consumer in this state to
25    do any of the following:
26          (1)   Fail to present the automatic renewal offer terms or continuous
27                service offer terms in a clear and conspicuous manner before the
                  subscription or purchasing agreement is fulfilled and in visual
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                                               -3-
                                     CLASS ACTION COMPLAINT
     Case 8:17-cv-01210-JLS-KES       Document 1   Filed 07/16/17   Page 5 of 18 Page ID
                                             #:5


                   proximity, or in the case of an offer conveyed by voice, in temporal
1                  proximity, to the request for consent to the offer.
2
            (2)    Charge the consumer's credit or debit card or the consumer’s
3                  account with a third party for an automatic renewal or continuous
                   service without first obtaining the consumer's affirmative consent to
4                  the agreement containing the automatic renewal offer terms or
                   continuous service offer terms.
5

6           (3)    Fail to provide an acknowledgment that includes the automatic
                   renewal or continuous service offer terms, cancellation policy, and
7                  information regarding how to cancel in a manner that is capable of
                   being retained by the consumer. If the offer includes a free trial, the
8                  business shall also disclose in the acknowledgment how to cancel
9                  and allow the consumer to cancel before the consumer pays for the
                   goods or services.
10

11          13.    Cal. Bus. & Prof. Code § 17601(a) defines the term “Automatic renewal”

12    as a “plan or arrangement in which a paid subscription or purchasing agreement is

13    automatically renewed at the end of a definite term for a subsequent term.”

14          14.    Cal. Bus. & Prof. Code § 17601(b) defines the term “Automatic renewal

15    offer terms” as “the following clear and conspicuous disclosures: (1) That the

16    subscription or purchasing agreement will continue until the consumer cancels. (2) The

17    description of the cancelation policy that applies to the offer. (3) The recurring charges

18    that will be charged to the consumer’s credit or debit card or payment account with a

19    third party as part of the automatic renewal plan or arrangement, and that the amount of

20    the charge may change, if that is the case, and the amount to which the charge will

21    change, if known. (4) The length of the automatic renewal term or that the service is

22    continuous, unless the length of the tern is chosen by the consumer. (5) The minimum

23    purchase obligation, if any.”

24          15.    Pursuant to Cal. Bus. & Prof. Code § 17601(c), “clear and conspicuous” or

25    “clearly and conspicuously’’ means “in larger type than the surrounding text, or in

26    contrasting type, font, or color to the surrounding text of the same size, or set off from

27    the surrounding text of the same size by symbol ls or other marks, in a manner that

28    clearly calls attention to the language.”

                                                  -4-
                                        CLASS ACTION COMPLAINT
     Case 8:17-cv-01210-JLS-KES     Document 1     Filed 07/16/17   Page 6 of 18 Page ID
                                           #:6


1           16.    Section 17602(b) provides: “A business making automatic renewal or
2     continuous service offers shall provide a toll-free telephone number, electronic mail
3     address, a postal address only when the seller directly bills the consumer, or another
4     cost-effective, timely, and easy-to-use mechanism for cancellation that shall be
5     described in the acknowledgment specified in paragraph (3) of subdivision (a).”
6           17.    Section 17603 of Cal. Bus. & Prof. Code provides: “In any case in which a
7     business sends any goods, wares, merchandise, or products to a consumer, under a
8     continuous service agreement or automatic renewal of a purchase, without first
9     obtaining the consumer’s affirmative consent as described in Section 17602, the goods,
10    wares, merchandise, or products shall for all purposes be deemed an unconditional gift
11    to the consumer, who may use or dispose of the same in any manner he or she sees fit
12    without any obligation whatsoever on the consumer’s part to the business, including.
13    but not limited to, bearing the cost of, or responsibility for, shipping any goods, wares,
14    merchandise, or products to the business.”
15    Defendant’s Business
16          18.    Defendant offers, at its website, found at www.register.com, various
17    subscriptions for website support and construction services. Defendant’s product and
18    services plan constitutes an automatic renewal and/or continuous service plan or
19    arrangement for the purposes of Cal. Bus. & Prof. Code § 17601.
20    Defendant’s Web.com Master Services Agreement
21          19.    During    the    Class    Period,    Defendant’s    webpage,     found     at
22    www.register.com,     contained a section        entitled   “Web.com Master      Services
23    Agreement”. This is a lengthy document in which the information concerning the
24    recurring nature of Defendant’s subscription programs and the manner in which
25    the subscriptions may be canceled was, at all relevant times, not set forth in clear
26    and conspicuous language, as required by the applicable statutes and as set forth
27    below.
28    ///

                                                -5-
                                      CLASS ACTION COMPLAINT
     Case 8:17-cv-01210-JLS-KES     Document 1      Filed 07/16/17   Page 7 of 18 Page ID
                                           #:7


1     Defendant’s Web.com Master Services Agreement Fails to Provide Clear and
2     Conspicuous Disclosures As Required by Law.
3           20.    During the Class Period, within the Web.com Master Services Agreement,
4     Defendant failed to state in clear and conspicuous language (i.e., in larger type than the
5     surrounding text, or in contrasting type, font, or color to the surrounding text of the
6     same size, or set off from the surrounding text of the same size by symbols of other
7     marks, in a manner that clearly calls attention to the language) that:
8                  i)     The subscription or purchasing agreement will continue until the
9                         consumer cancels (there is language in capitals stating that the
10                        subscription will continue after the free trial period unless canceled,
11                        but language concerning recurring charges thereafter is not so
12                        prominently displayed);
13                 ii)    Described the cancellation policy that applies to the offer;
14                 iii)   Recurring charges that will be charged to the consumer’s Payment
15                        Method account with a third party as part of the automatic renewal
16                        plan or arrangement, and that the amount of the charge may change,
17                        if that is the case, and the amount to which the charge will change, if
18                        known; and
19                 iv)    The length of the automatic renewal term or that the service is
20                        continuous unless the length of tile term is chosen by the consumer.
21    Defendant Failed to Present the Automatic Renewal Offer Terms or Continuous
22    Service Offer Terms in a Clear and Conspicuous Manner Before the Subscription
23    or Purchasing Agreement was Fulfilled and in Visual Proximity to the Request for
24    Consent to the Offer in Violation of Cal. Bus. & Prof. Code § l7602(a)(l), (2).
25          21.    During the Class Period, Defendant made an automatic renewal offer for
26    its subscriptions plans to Consumers in the United States, including Plaintiff and Class
27    Members. On the pages where the subscriber essentially finalized the purchase, there
28    was no description of that policy. Accordingly, the website did not contain automatic

                                                 -6-
                                       CLASS ACTION COMPLAINT
     Case 8:17-cv-01210-JLS-KES    Document 1     Filed 07/16/17   Page 8 of 18 Page ID
                                          #:8


1     renewal offer terms or continuous service offer terms as defined by Cal. Bus. & Prof.
2     Code § 17601(b).
3     [Insert pages 5-7 from the 2/14/17 scrape.]
4           22.   As a result, during the class period, prior to charging Plaintiff and Class
5     Members, Defendant failed to obtain Plaintiff’s and Class Members’ affirmative
6     consent to the automatic renewal offer terms or continuous service offer terms as
7     required by Cal. Bus. & Prof. Code § 17602(a)(1), (2).
8           23.   Because of Defendant’s failure to gather affirmative consent to the
9     automatic renewal terms, all goods, wares, merchandise, or products, sent to Plaintiff
10    and Class Members under the automatic renewal or continuous service agreement are
11    deemed to be an unconditional gift pursuant to Cal. Bus. & Prof. Code § 17603, and
12    Plaintiff and Class Members may use or dispose of the same in any manner they see fit
13    without any obligation whatsoever on their part to Defendant, including, but not limited
14    to, bearing the cost of, or responsibility for, shipping any goods, wares, merchandise or
15    products.
16    Defendant Failed to Provide an Acknowledgment as Required by Cal. Bus. &
17    Prof. Code §§ 17602(a)(3) and 17602(b)
18          24.   Furthermore, and in addition to the above, after Plaintiff and Class
19    Members subscribed to one of Defendant’s subscription plans, Defendant sent to
20    Plaintiff and Class Members email follow-ups to their purchase, but has failed, and
21    continues to fail, to provide an acknowledgement that includes the automatic renewal or
22    continuous service offer terms, cancellation policy, and information on how to cancel in
23    a manner that is capable of being retained by Plaintiff and Class Members in violation
24    of Cal. Bus. & Prof. Code §§ 17602(a)(3) and 17602(b).
25    [Insert 2 emails dated 2/22/17 – there are other emails but they seem to be same as
26    the 2 on 2/22]
27    ///
28    ///

                                                -7-
                                      CLASS ACTION COMPLAINT
     Case 8:17-cv-01210-JLS-KES      Document 1     Filed 07/16/17    Page 9 of 18 Page ID
                                            #:9


1                               CLASS ACTION ALLEGATIONS
2            25.   Plaintiff brings this action, on behalf of herself and all others similarly
3     situated, as a class action pursuant to Rule 23(a) of the Federal Rules of Civil
4     Procedure. The proposed Class (the “Class”) that Plaintiff seeks to represent is
5     composed of and defined as:
6            “All persons within California that, within the applicable statute of
7            limitations period up to and including entry of judgment in this
8            matter, purchased any product or service in response to an offer
9            constituting an “Automatic Renewal” as defined by § 17601(a) from
10           Web.com Group, Inc., its predecessors, or its affiliates, via the website
11           www.register.com.”
12           26.   Excluded from the Class are governmental entities, Defendant, any entity
13    in which Defendant has a controlling interest, and Defendant’s officers, directors,
14    affiliates, legal representatives, employees, co-conspirators, successors, subsidiaries,
15    and assigns, and individuals bound by any prior settlement. Also excluded from the
16    Class is any judge, justice, or judicial officer presiding over this matter.
17           27.   This action is brought and may be properly maintained as a class action
18    pursuant to the provisions of Federal Rule of Civil Procedure 23(a)(1)-(4) and 23(b)(1)-
19    (3).   This action satisfies the numerosity, typicality, adequacy, predominance and
20    superiority requirements of those provisions.
21           28.   [Fed. R. Civ. P. 23(a)(1)] The Class is so numerous that the individual
22    joinder of all of its members is impractical. While the exact number and identities of
23    Class members are unknown to Plaintiff at this time and can only be ascertained
24    through appropriate discovery, Plaintiff is informed and believes the Class includes
25    hundreds of thousands of members. Plaintiff alleges that the Class may be ascertained
26    by the records maintained by Defendant.
27           29.   [Fed. R. Civ. P. 23(a)(2)] Common questions of fact and law exist as to all
28    members of the Class that predominate over any questions affecting only individual

                                                  -8-
                                        CLASS ACTION COMPLAINT
 Case 8:17-cv-01210-JLS-KES      Document 1 Filed 07/16/17     Page 10 of 18 Page ID
                                        #:10


1    members of the Class. These common legal and factual questions, which do not vary
2    from class member to class member, and which may be determined without reference to
3    the individual circumstances of any class member, include, but are not limited to, the
4    following:
5                   i. Whether during the Class Period Defendant failed to present the
6                      automatic renewal offer terms, or continuous service offer terms, in
7                      a clear and conspicuous manner before the subscription or
8                      purchasing agreement was fulfilled and in visual proximity to the
9                      request for consent to the offer in violation of Cal. Bus. & Prof.
10                     Code § 17602(a)(l);
11                  ii. Whether during the Class Period Defendant charged Plaintiff’s and
12                     Class Members’ Payment Method for an automatic renewal or
13                     continuous service without first obtaining the Plaintiff’s and Class
14                     Members’ affirmative consent to the automatic renewal offer terms
15                     or continuous service offer terms in violation of Cal. Bus. & Prof.
16                     Code§ 17602(a)(2);
17                 iii. Whether during the Class Period Defendant failed to provide an
18                     acknowledgement that included the automatic renewal or continuous
19                     service offer terms, cancellation policy, and information on how to
20                     cancel in a manner that is capable of being retained by Plaintiff and
21                     Class Members, in violation of Cal. Bus. & Prof. Code §
22                     17602(a)(3);
23                 iv. Whether during the Class Period Defendant failed to provide an
24                     acknowledgment that describes a cost-effective, timely, and easy-to-
25                     use mechanism for cancellation in violation of Cal. Bus. & Prof.
26                     Code § 17602(b);
27                  v. Whether Plaintiff and the Class Members are entitled to restitution
28                     of money paid in circumstances where the goods and services

                                                -9-
                                      CLASS ACTION COMPLAINT
 Case 8:17-cv-01210-JLS-KES       Document 1 Filed 07/16/17       Page 11 of 18 Page ID
                                         #:11


1                       provided by Defendant are deemed an unconditional gift in
2                       accordance with Cal. Bus. & Prof. Code§ 17603;
3                   vi. Whether Plaintiff and Class Members are entitled to restitution in
4                       accordance with Cal. Bus. & Prof. Code §§ 17200, 17203;
5                  vii. Whether Plaintiff and Class Members are entitled to injunctive relief
6                       under Cal. Bus. & Prof. Code § 17203;
7                  viii. Whether Plaintiff and Class Members are entitled to attorneys’ fees
8                       and costs under California Code of Civil Procedure § 1021.5; and
9                   ix. The proper formula(s) for calculating the restitution owed to Class
10                      Members.
11         30.    [Fed. R. Civ. P. 23(a)(3)] Plaintiff’s claims are typical of the claims of the
12   members of the Class. Plaintiff and all members of the Class have sustained injury and
13   are facing irreparable harm arising out of Defendant’s common course of conduct as
14   complained of herein. The losses of each member of the Class were caused directly by
15   Defendant’s wrongful conduct as alleged herein.
16         31.    [Fed. R. Civ. P. 23(a)(4)] Plaintiff will fairly and adequately protect the
17   interests of the members of the Class. Plaintiff has retained attorneys experienced in the
18   prosecution of class actions, including complex consumer and mass tort litigation.
19         32.    [Fed. R. Civ. P. 23(b)(3)] A class action is superior to other available
20   methods of fair and efficient adjudication of this controversy, since individual litigation
21   of the claims of all Class members is impracticable. Even if every Class member could
22   afford individual litigation, the court system could not. It would be unduly burdensome
23   to the courts in which individual litigation of numerous issues would proceed.
24   Individualized litigation would also present the potential for varying, inconsistent, or
25   contradictory judgments and would magnify the delay and expense to all parties and to
26   the court system resulting from multiple trials of the same complex factual issues. By
27   contrast, the conduct of this action as a class action, with respect to some or all of the
28   issues presented herein, presents fewer management difficulties, conserves the

                                               - 10 -
                                      CLASS ACTION COMPLAINT
 Case 8:17-cv-01210-JLS-KES        Document 1 Filed 07/16/17       Page 12 of 18 Page ID
                                          #:12


1    resources of the parties and of the court system, and protects the rights of each Class
2    member.
3          33.     [Fed. R. Civ. P. 23(b)(1)(A)] The prosecution of separate actions by
4    thousands of individual Class members would create the risk of inconsistent or varying
5    adjudications with respect to, among other things, the need for and the nature of proper
6    notice, which Defendant must provide to all Class members.
7          34.     [Fed. R. Civ. P. 23(b)(1)(B)] The prosecution of separate actions by
8    individual class members would create a risk of adjudications with respect to them that
9    would, as a practical matter, be dispositive of the interests of the other Class members
10   not parties to such adjudications or that would substantially impair or impede the ability
11   of such non-party Class members to protect their interests.
12         35.     [Fed. R. Civ. P. 23(b)(2)] Defendant has acted or refused to act in respects
13   generally applicable to the Class, thereby making appropriate final injunctive relief with
14   regard to the members of the Class as a whole.
15                                FIRST CAUSE OF ACTION
16      FAILURE TO PRESENT AUTOMATIC RENEWAL OFFER TERMS OR
17               CONTINUOUS SERVICE OFFER TERMS CLEARLY AND
18    CONSPICUOUSLY AND IN VISUAL, PROXIMITY TO THE REQUEST FOR
19               CONSENT OFFER (CAL. BUS. & PROF. CODE§ 17602(a)(l))
20   (By Plaintiff, on her own behalf and on behalf of the Class, against All Defendants)
21         36.     The foregoing paragraphs are alleged herein and are incorporated herein
22   by reference.
23         37.     Cal. Bus. Prof. Code§ 17602(a)(1) provides:
24
                 (a) It shall be unlawful for any business making an automatic renewal or
25               continuous service offer to a consumer in this state to do any of the
26               following:

27                     (l) Fail to present the automatic renewal offer terms or continuous
                       service offer terms in a clear and conspicuous manner before the
28

                                               - 11 -
                                      CLASS ACTION COMPLAINT
 Case 8:17-cv-01210-JLS-KES        Document 1 Filed 07/16/17      Page 13 of 18 Page ID
                                          #:13


                      subscription or purchasing agreement is fulfilled and in visual
1                     proximity, or in the case of an offer conveyed by voice, in temporal
2                     proximity, to the request for consent to the offer.

3
           38.    Plaintiff and Class Members purchased Defendant’s website construction

4
     and support services and related products for personal, family or household purposes.

5
     Defendant failed to present the automatic renewal offer terms, or continuous service

6
     offer terms, in a clear and conspicuous manner and in visual proximity the request for

7
     consent to the offer before the subscription or purchasing agreement was fulfilled.

8
           39.    As a result of Defendant’s violations of Cal. Bus. & Prof. Code §

9
     §17602(a)(l), Defendant is subject under Cal. Bus. & Prof. Code § 17604 to all civil

10
     remedies that apply to a violation of Article 9, of Chapter l, of Part 3, of Division 7 of

11
     the Cal. Bus. & Prof. Code.

12
           40.    Plaintiff, on behalf of herself and Class Members, requests relief as

13
     described below.

14
                                SECOND CAUSE OF ACTION

15
           FAILURE TO OBTAIN CONSUMER’S AFFIRMATIVE CONSENT

16
                        BEFORE THE SUBSCRIPTION IS FULFILLED

17
                     (CAL BUS. & PROF. CODE §§ 17602(a)(2) and 17603)

18
     (By Plaintiff, on her own behalf and on behalf of the Class, against All Defendants)

19
           41.    The foregoing paragraphs are alleged herein and are incorporated herein

20
     by reference.

21
           42.    Cal. Bus. & Prof. Code § 17602(a)(2) provides:

22                (a) It shall be unlawful for any business making an automatic renewal or
                  continuous service offer to a consumer in this state to do any of the
23                following:
24                       (2) Charge the consumer’s credit or debit card or the consumer’s
25                       account with a third party for an automatic renewal or continuous
                         service without first obtaining the consumer, s affirmative consent to
26                       the agreement containing the automatic renewal offer terms or
                         continuous service offer terms.
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28

                                               - 12 -
                                      CLASS ACTION COMPLAINT
 Case 8:17-cv-01210-JLS-KES         Document 1 Filed 07/16/17       Page 14 of 18 Page ID
                                           #:14


1             43.   Plaintiff and Class Members purchased Defendant’s website construction
2    and support services and related products for personal, family or household purposes.
3    Defendant charged, and continues to charge Plaintiff’s and Class Members’ Payment
4    Method for an automatic renewal or continuous service without first obtaining
5    Plaintiff’s and Class Members affirmative consent to the Web.com Master Services
6    Agreement containing the automatic renewal offer terms or continuous service offer
7    terms.
8             44.   As a result of Defendant’s violations of Cal. Bus. & Prof. Code §
9    17602(a)(2), Defendant is liable to provide restitution to Plaintiff and Class Members
10   under Cal. Bus. & Prof. Code § 17603.
11            45.   Plaintiff, on behalf of herself and Class Members, requests relief as
12   described below.
13                                 THIRD CAUSE OF ACTION
14                  FAILURE TO PROVIDE ACKNOWLEDGMENT WITH
15      AUTOMATIC RENEWAL TERMS AND INFORMATION REGARDING
16                                 CANCELLATION POLICY
17                   (CAL. BUS. & PROF. CODE §§ 17602(a)(3), 17602(b))
18   (By Plaintiff, on her own behalf and on behalf of the Class, against All Defendants)
19            46.   The foregoing paragraphs are alleged herein and are incorporated herein
20   by reference.
21            47.   Cal. Bus. & Prof. Code§ 17602(a)(3) provides:
22
                    (a) It shall be unlawful for any business making an automatic renewal or
23                  continuous service offer to a consumer in this state to do any of the
24                  following:

25                        (3) Fail to provide an acknowledgment that includes the
                          automatic renewal or continuous service offer terms,
26                        cancellation policy, and information regarding how to cancel in
                          a manner that is capable of being retained by the consumer. If
27
                          the offer includes a free trial, the business shall also disclose in
28

                                                - 13 -
                                       CLASS ACTION COMPLAINT
 Case 8:17-cv-01210-JLS-KES      Document 1 Filed 07/16/17       Page 15 of 18 Page ID
                                        #:15


                        the acknowledgment how to cancel and allow the consumer to
1                       cancel before the consumer pays for the goods or services.
2          48.   Cal. Bus. & Prof. Code§ 17602(b) provides:
3
                        “A business making automatic renewal or continuous service
4                       offers shall provide a toll-free telephone number, electronic
                        mail address, a postal address only when the seller directly bills
5                       the consumer, or another cost-effective, timely, and easy-to-use
                        mechanism for cancellation that shall be described in the
6
                        acknowledgment specified in paragraph (3) of subdivision (a).”
7          49.   Plaintiff and Class Members purchased Defendant’s website construction
8    and support services and related products for personal, family or household purposes.
9    Defendant failed to provide an acknowledgement that includes the automatic renewal or
10   continuous service offer terms, cancellation policy, and information on how to cancel in
11   a manner that is capable of being retained by Plaintiff and Class Members.
12         50.   As a result of Defendant’s violations of Cal. Bus. & Prof. Code §§
13   17602(a)(3) and 17602(b), Defendant is subject to all civil remedies under Cal. Bus. &
14   Prof. Code § 17604 that apply to a violation of Article 9, of Chapter 1 of Part 3, of
15   Division 7 of the Cal. Bus. & Prof. Code.
16         51.   Plaintiff, on behalf of herself and Class Members, requests relief as
17   described below.
18                             FOURTH CAUSE OF ACTION
19                   VIOLATION OF THE UNFAIR COMPETITION LAW
20                       (CAL. BUS. & PROF. CODE§ 17200 et. seq.)
21   (By Plaintiff, on her own behalf and on behalf of the Class, against All Defendants)
22         52.   The foregoing paragraphs are alleged herein and are incorporated herein
23   by reference.
24         53.   Cal. Bus. & Prof. Code § 17200, et seq. (the “UCL”) prohibits unfair
25   competition in the form of any unlawful or unfair business act or practice. Cal. Bus. &
26   Prof. Code § 17204 allows “a person who has suffered injury in fact and has lost money
27   or property” to prosecute a civil action for violation of the UCL. Such a person may
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                                              - 14 -
                                     CLASS ACTION COMPLAINT
 Case 8:17-cv-01210-JLS-KES       Document 1 Filed 07/16/17       Page 16 of 18 Page ID
                                         #:16


1    bring such an action on behalf of himself or herself and others similarly situated who
2    are affected by the unlawful and/or unfair business practice or act.
3          54.    Since December l, 2010, and continuing during the Class Period,
4    Defendant has committed unlawful and/or unfair business acts or practices as defined
5    by the UCL, by violating Cal. Bus. & Prof. Code §§ 17602(a)(l), 17602(a)(2),
6    17602(a)(3) and 17602(b). The public policy which is a predicate to a UCL action
7    under the unfair prong of the UCL is tethered to a specific statutory provision. See Cal.
8    Bus. & Prof. Code §§ 17600, 17602.
9          55     Plaintiff has standing to pursue this claim because she suffered injury in
10   fact and has lost money or property as a result of Defendant’s actions as set forth
11   herein. Plaintiff purchased Defendant’s website construction and support services and
12   related products for personal, family, or household purposes.
13         56.    As a direct and proximate result of Defendant’s unlawful and/or unfair
14   business acts or practices described herein, Defendant has received, and continues to
15   hold, unlawfully obtained property and money belonging to Plaintiff and Class
16   Members in the form of payments made for subscription agreements by Plaintiff and
17   Class Members. Defendant has profited from its unlawful and/or unfair business acts or
18   practices in the amount of those business expenses and interest accrued thereon.
19         57.    Plaintiff and similarly-situated Class Members are entitled to restitution
20   pursuant to Cal. Bus. & Prof. Code § 17203 for all monies paid by Class Members
21   under the subscription agreements from December 1, 2010, to the date of such
22   restitution at rates specified by law. Defendant should be required to disgorge all the
23   profits and gains it has reaped and restore such profits and gains to Plaintiff and Class
24   Members, from whom they were unlawfully taken.
25         58.    Plaintiff and similarly situated Class Members are entitled to enforce all
26   applicable penalty provisions pursuant to Cal. Bus. & Prof. Code § 17202, and to obtain
27   injunctive relief pursuant to Cal. Bus. & Prof. Code § 17203.
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                                               - 15 -
                                      CLASS ACTION COMPLAINT
 Case 8:17-cv-01210-JLS-KES       Document 1 Filed 07/16/17       Page 17 of 18 Page ID
                                         #:17


1          59.    Plaintiff has assumed the responsibility of enforcement of the laws and
2    public policies specified herein by suing on behalf of herself and other similarly-
3    situated Class Members. Plaintiff’s success in this action will enforce important rights
4    affecting the public interest. Plaintiff will incur a financial burden in pursuing this
5    action in the public interest. An award of reasonable attorneys’ fees to Plaintiff is thus
6    appropriate pursuant to California Code of Civil Procedure§ 1021.5.
7          60.    Plaintiff, on behalf of herself and Class Members, request relief as
8    described below.
9                                   PRAYER FOR RELIEF
10         WHEREFORE, Plaintiff requests the following relief:
11         A.     That the Court determine that this action may be maintained as a class
12   action, and define the Class as requested herein;
13         B.     That the Court find and declare that Defendant has violated Cal. Bus. &
14   Prof. Code § 17602(a)(1) by failing to present the automatic renewal offer terms, or
15   continuous service offer terms, in a clear and conspicuous manner and the visual
16   proximity to the request for consent to the offer before the subscription or purchasing
17   agreement was fulfilled;
18         C.     That the Court find and declare that Defendant has violated Cal. Bus. &
19   Prof. Code § 17602(a)(2) by charging Plaintiff’s and Class Members’ Payment Method
20   without first obtaining their affirmative consent to the automatic renewal offer·terms or
21   continuous service terms;
22         D.     That the Court find and declare that Defendant has violated Cal. Bus. &
23   Prof. Code § 17602(a)(3) by failing to provide an acknowledgement that includes the
24   automatic renewal or continuous service offer terms, cancellation policy and
25   information on how to cancel in a manner that is capable of being retained by Plaintiff
26   and Class Members;
27         E.     That the Court find and declare that Defendant has violated Cal. Bus. &
28   Prof. Code § 17602(b) by failing to provide an acknowledgment that describes a toll-

                                              - 16 -
                                     CLASS ACTION COMPLAINT
 Case 8:17-cv-01210-JLS-KES        Document 1 Filed 07/16/17      Page 18 of 18 Page ID
                                          #:18


1    free telephone number, electronic mail address, a postal address only when the seller
2    directly bills the consumer, or another cost-effective, timely, and easy-to-use
3    mechanism for cancellation;
4          F.       That the Court find and declare that Defendant has violated the UCL and
5    committed unfair and unlawful business practices by violating Cal. Bus. & Prof. Code §
6    17602;
7          G.       That the Court award to Plaintiff and Class Members damages and full
8    restitution due to Defendant’s UCL violations, pursuant to Cal. Bus. & Prof. Code §§
9    17200-17205 in the amount of their subscription agreement payments;
10         H.       That the Court find that Plaintiff and Class Members are entitled to
11   injunctive relief pursuant to Cal. Bus. & Prof. Code § 17203;
12         I.       That Plaintiff and the Class be awarded reasonable attorneys’ fees and
13   costs pursuant to California Code of Civil Procedure § 1021.5, and/or other applicable
14   law; and
15         J.       That the Court award such other and further relief as this Court may deem
16   appropriate.
17

18
     Dated: July 16, 2017                   PACIFIC TRIAL ATTORNEYS, APC

19
                                            By: /s/ Scott J. Ferrell
20                                          Scott. J. Ferrell
                                            Attorneys for Plaintiff
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                                               - 17 -
                                      CLASS ACTION COMPLAINT
